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KOLLER LAW LLC

David M. Ko]]er, Esq. (90119)

Sarah R. Lavelle, Esq. (93383) Counselfor Plaz'nrijj’
2043 Locust Street, Suite 113

Philadelphia, PA 19103

T: (215) 545-8917

F: (215) 575-0826

davidk@kollerlawfirm.com

slavelle@kol]erlawtirin.coin

IN THE `UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MIGNON DUSON : Civil Action No.
139 W Tulpehocken Street, Apartment Gl
Phi`iadelphia, PA 19144

Plaintiff,

v. : Complaint and Jury Demand

THE LENFEST GROUP, LLC d/b/a :
SMILE EXCHANGE OF WARRINGTON, LLC:
259 Metro Drive

Warrington, PA 18976

565 East Swedesford Road, Suite 303
Wayne, PA 19087
Defendant.

 

CIVIL ACTION
Plaintiff, Mignon Duson (hereinafter “Plaintiff’), by and through her attorney, Koller
LaW, LLC, bring this civil matter against The Lenfest Grou'p, LLC d/b/a Smile Exchangc of
Warrington, LLC (hereinafter “Defendant”), for Violations of Title VII of the Civil Rights Act
and the Pennsylvania Human Relations Act (“PHRA”). In support thereof, Plaintiff avers as
follows:
THE PARTIES

1. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

 

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2. Plaintiff is an adult individual residing at the above captioned address

3. Upon information and belief, The Lenfest Group, LLC d/b/a Smile Exchange of
Warrington, LLC is a chain of dental offices With a location at 259 Metro Drive,
Warrington, PA 18976 and a corporate headquarters located at 565 East SWedesford
Road, Suite 303, Wayne, PA 19087.

4. At all times relevant hereto, Defendant employed managers, supervisors, agents, and
employees Who Plaintiff alleges had the authority to make decisions concerning
Plaintiff's employment In making said decisions, these individuals engaged in the
pattern and practice of discriminatory treatment, Which forms the basis of Plaintiff’s
allegations in the instant Complaint.

5. At all times relevant hereto, Defendant employed managers, supervisors, agents, and
employees Who acted directly or indirectly in the interest of the employer. ln so acting,
these individuals engaged in the pattern and practice of discriminatory treatment, Which
forms the basis of Plaintiff’ s allegations in_the instant Complaint.

JURISDICTION AND VENUE

6. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

7. The Court may properly maintain personal jurisdiction over Defendant because the
Defendant’s contacts With this state and this judicial district are sufficient for the exercise
of jurisdiction and comply With traditional notions of fair play and substantial justice,
thus satisfying the standard set forth by the United States Supreme Co‘urt in International
Shoe Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

8. The Court may exercise original subject-matter jurisdiction over the instant action

pursuant to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the

 

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United States and seeks redress for violations of federal law.

9. The Court may also maintain supplemental jurisdiction over state law claims set forth

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herein pursuant to 28 U.S.C. § l367(a) and Rule 18(a) of the Federal Rules of Civil
Procedure because they are sufficiently related to one or more claims Within the Court’s
original jurisdiction that they form part of the same case or controversy
Venue is properly laid in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§
1391(b)(l) and 1391(b)(2) because Plaintiff is domiciled in this judicial district, the
Defendant is located in this judicial district and because all of the acts and/or omissions
giving rise to the claims set forth herein occurred in this judicial district

EXI~IAUSTION OF ADMINISTRATIVE REMEDIES
Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.
Plaintiff exhausted her administrative remedies under Title VII and PHRA.
Plaintiff timely filed a Complaint of Discrimination (“Complaint”) With the U.S. Equal
Employment Opportunity Commission (“EEOC”) alleging race discrimination against
Defendant.
The Complaint Was assigned a Charge Number 530-2018~05212 and Was dual filed With
the Pennsylvania Human Relations Commission.
The EEOC issued Plaintiff a Dismissal and Notice of Rights (“Right to Sue”) dated
December 19, 2018. Plaintiff received the Notice by mail.
Prior to the filing of this action, Plaintiff notified the EEOC of her intent to proceed With
a lawsuit in federal court.
Plaintiff files the instant Complaint Within ninety (90) days of her receipt of her Right to

Sue in this matter.

 

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Plaintiff has exhausted her administrative remedies as to the allegations of this
Complaint.
MATERIAL FACTS

Plaintiff incorporates the preceding paragraphs as if Set forth more fully at length herein.
Plaintiff is an African-American adult female

On January 24, 2017, Defendant hired Plaintiff as a Patient Service Associate at its
Trooper, PA location.

Plaintiff Was Well qualified for her position and performed Well.

In February 2017, T.J. Jafari (Middle Eastern), VP of Operations, promoted Plaintiff to
Acting Practice Manager at Defendant’s Warrington, PA location.

l\/Ir. Jafari informed Plaintiff that if the position did not Work out that she Would be placed
back at Defendant’s Trooper, PA location as a Patient Service Associate.

Plaintiff accepted the position because of this representation that l\/[r. Jafari made to her.
ln the beginning of l\/iarch 2017, Plaintiff Was brought to Defend-ant’s Turnersvill'e, NJ
location for training

However, Plaintiff only spent two (2) days at Defendant’s Tumersville, NJ location and
she Was not properly trained.

In or around late l\/Iay 2017, Defendant promoted Plaintiff to Practice l\/Ianager.

l.\/[r. Iafari Was extremely critical of Plaintiff’s Wo'rk product as a Practice Manager,
despite the Warrington, PA’s location’s numbers vast improvement under Plaintiff’s

management

 

 

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Mr. Jafari Was so critical of Plaintiff" s v_vork product that Dr. `Victoria Crow even noted it
and told Plaintiff that she Was concerned about his treatment of Plaintiff on multiple
occasions

On lFebruary 7, 2018, Plaintiff met With Mr. Jafari and Andy l.\/IcKinley (Caucasian),
President, Who terminated her due to her accounts receivable percentage not being low
enough and for not conducting enough marketing

Plaintiff was not offered the position of Patient Service Associate.

Carmen LNU (Hispanic), Practice Manager of Turnersville, and Steve Morris
(Caucasian), Practice l\/Ianager of Malvern, had Worse accounts receivable percentages
than Plaintiff

Also, Mr. Morris and Sandy Fink (Caucasian), Program l\/[anager of Spri.ngfield, did not
conduct any marketing events.

In addition, Lori Dengler (Caucasian), Program Manager of Trooper, did not reach her
production goals.

HoWever, Carmen, Mr. l\/lorris, Ms. Fink and l\/ls. Dengler Were not disciplined or

terminated by Defendant.

COUNT I - RACE DISCRIMINATION
TITLE VII OF THE CIVIL RIGHTS ACT OF 1964., AS AMENDED

Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.
Plaintiff is a member of protected classes in that she is African-American.

Plaintiff Was qualified to perform the job for Which she Was hired.

Plaintiff suffered adverse job actions, including, but not limited to termination
Similarly situated people outside of Plaintiff”s protected class Were treated more

favorably than Plaintiff

 

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42. Circumstances exist related to the above cited adverse employment actions that give rise
to an inference of discrimination

43. Defendant discriminated against Plaintiff on the basis of race.

44. No legitimate, non-discriminatory reasons exist for the above cited adverse employment
actions that Plaintiff suffered.

45. The reasons cited by Defendant for the above cited adverse employment action that
Plaintiff suffered are pretext for discrimination
WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

this Complaint, infra

COUNT II - RACE DISCRIMINATION
PENNSYLVANIA HUMAN RELATIONS ACT

46. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.
47. The foregoing conduct by Defendant constitutes unlawful discrimination against Plaintiff

on the basis of her race (Afiican-Arnerican).
48. As a result of Defendant’s unlawful race discrimination, Plaintiff has suffered damages as

set forth herein.

WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of
this Complaint, infra

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, Mignon Duson, requests that the Court grant her the following
relief against Defendant:
(a) Compensatory damages;
(b) Punitive damages;

(c) Emotional pain and suffering;

 

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Reasonable attorneys’ fees;

Recoverable costs;

Pre and post judgment interest;

An allowance to compensate for negative tax consequences;

A permanent injunction enjoining Defendant, its directors, officers, employees,
agents, successors, heirs and assigns, and all persons in active concert or
participation with it, from engaging in, ratifying, or refusing to correct,
employment practices which discriminate in violation of the Title VII and the
PHRA.

Order Defendant to institute and implement, and for its employees, to attend
and/or otherwise participate in, training programs, policies, practices and
programs which provide equal employment opportunities;

Order Defendant to remove and expunge, or to cause to be removed and
expunged, all negative, discriminatory, and/or defamatory memoranda and
documentation from Plaintiff’s record of employment including, but not limited,
the pre-textual reasons cited for its adverse actions, disciplines, and termination;
and

Awarding extraordinary, equitable and/or injunctive relief as permitted by law,

equity and the federal statutory provisions sued hereunder, pursuant to Rules 64
and 65 of the Federal Rules of Civil Procedure.

JURY TRIAL DEMAND

Demand is hereby made for a trial by jury as to all issues

CERTIFICATION

l hereby certify that to the best of my knowledge and belief the above matter in

controversy is not the subject of any other action pending in any court or of a pending arbitration

proceeding, nor at the present time is any other action or arbitration proceeding contemplated

 

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RESPECTFULLY SUBM!TTED,

KOLLER LAW, LLC

Dare; March 20, 2019 By: /LQ/fr/w@ 2/¢ aaa

David l\/l. Koller, Esquire (90119)
Sarah R. Lavelle, Esquire (93383)
2043 Locust Street, Suite lB
Philadelphia, PA 19l03
215-545-8917
davidk@kollerlawfirm.com
slavelle@kollerlawfinn.com

 

Counselfor Plaintiij

 

 

